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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

EDLEY GAYLE, Civil Action No.: 06 Civ 6956
(PAC)(GWG)
Plaintiff,
VS. ECF CASE
NATIONAL RAILROAD PASSENGER Related Cases:
CORP., T.C. JOHNSON COMPANY, 06-Civ-6195
TRANSPORTATION RESOURCES INC., 06-Civ-6196

MITCHELL EQUIPMENT CORPORATION,
CRESCENT CONTRACTING, INC., STV
INCORPORATED, HATCH MOTT
MACDONALD, INCORPORATED
—+STV/HMM, TEREX CORPORATION,
KOEHRING CRANES, INC. dba TEREX
CRANES WAVERLY TEREX CRANES,
INC., and ATLANTIC CRANE INSPECTION
SERVICES INC.

Defendants.

 

 

 

CERTIFICATION OF SERVICE

I hereby certify that on July 15, 2009, I served via Electronic Filing the within

‘NOTICE OF MOTION FOR SUMMARY JUDGMENT, DEFENDANT’S RULE
56.1 STATEMENT OF UNDISPUTED MATERIAL FACTS, BRIEF IN SUPPORT
OF DEFENDANT ATLANTIC CRANE’S SUMMARY JUDGMENT MOTION;
DECLARATION OF RICHARD E. SNYDER, ESQ. IN SUPPORT OF ATLANTIC
CRANE’S MOTION FOR SUMMARY JUDGMENT (with exhibits), and
Certification of Service in the above entitled case upon:

And one copy of same via Federal Express Overnight Delivery to:

The Honorable Gabriel Gorenstein, U.S.M.J.
_ United States District Court

Southern District of New York

300 Pearl Street

New York, New York 10007-1312

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The Honorable Paul A. Crotty

United States District Judge

U.S. District Court, Southern District of New York
500 Pearl Street

New York, NY 10018

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File No. 06294.00238

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_ d/b/a TEREX CRANES WAVERY and TEREX CRANES, INC.

I certify that the foregoing statements made by me are true. I am aware
that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.

DATED: July 15, 2009

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